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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION

MOUNTAIN VALLEY PIPELINE, LLC,                        )
                                                      )
                      Plaintiff,                      )
                                                      )
v.                                                    )        Case No. 7:23cv00809
                                                      )
PHILIP ATETO, et al.,                                 )
                                                      )
                      Defendants.                     )

                                                 ORDER

                      Upon consideration of Plaintiff’s Motion to Amend Complaint and to Add

a Defendant, Dkt. No. 25, it is ORDERED that the motion is granted and plaintiff has

leave to file its proposed amended complaint.

                      Entered: March 19, 2024.

                                                          /s/ Elizabeth K. Dillon
                                                          Elizabeth K. Dillon
                                                          United States District Judge




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